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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

In re:

CHRISTINE LYNNE QUATTRY,                           Case No. 6:15-bk-08657-CCJ

      Debtor.                                      Chapter 13
_____________________________/

                       CERTIFICATE OF SERVICE OF ORDER

          I HEREBY CERTIFY that a true and correct copy of the Court’s Agreed Order

Continuing February 14, 2017 Hearing on Debtor’s Objection to Proof of Claim No. 7 of

Educational Credit Management Corporation (D.E. 104) was served on February 9, 2017

via CM/ECF transmission to the Debtor, Christine Quattry Peacock, 1190 July Circle,

Deltona, Florida 32738, and via CM/ECF transmission on all other registered users in this

case.

                                            Respectfully submitted,

                                            SHAWDE & EATON, P.L.
                                            Attorneys for ECMC
                                            1792 Bell Tower Lane
                                            Weston, Florida 33326
                                            Telephone: (305) 376-3176

                                            By:    /s/ John D. Eaton
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                                                    Florida Bar No. 0861367
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